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     Attorneys for the
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10                                           )   1:12-CR-00079-LJO-SKO
     UNITED STATES OF AMERICA,               )
11                                           )
                      Plaintiff,             )
12                                           )   STIPULATION AND PROTECTIVE
                                             )   ORDER BETWEEN THE UNITED
13               v.                          )   STATES AND DEFENDANT KOU VANG
                                             )
14                                           )
     KOU VANG,                               )
15                                           )
                                             )
16                    Defendant.             )
                                             )
17                                           )
                                             )
18                                           )
19
          WHEREAS, the discovery in this case is voluminous and contains a
20
     large amount of personal and confidential information including but not
21
     limited to Social Security numbers, dates of birth, bank account
22
     numbers,   telephone   numbers,   and   residential   addresses    (“Protected
23
     Information”); and
24
          WHEREAS, the parties desire to avoid both the necessity of large
25
     scale redactions and the unauthorized disclosure or dissemination of
26
     this information to anyone not a party to the court proceedings in this
27
     matter;
28
          The parties agree that entry of a stipulated protective order is
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 1   appropriate.
 2        THEREFORE, Defendant Kou Vang (“Defendant”), by and through his
 3   counsel of record, Janet Bateman (“Defense Counsel”), and the United
 4   States of America, by and through Assistant United States Attorney Grant
 5   B. Rabenn, hereby agree and stipulate as follows:
 6        1.     This Court may enter a protective order pursuant to Rule 16(d)
 7   of the Federal Rules of Criminal Procedure, and its general supervisory
 8   authority.
 9        2.     This Order pertains to all discovery provided to or made
10   available    to   Defense       Counsel    as    part   of   discovery   in   this   case
11   (hereafter, collectively known as “the discovery”).
12        3.     By signing this Stipulation and Protective Order, Defense
13   Counsel agrees not to share any documents that contain Protected
14   Information with anyone other than Defense Counsel attorneys, designated
15   defense investigators, and support staff.                Defense Counsel may permit
16   Defendant to view unredacted documents in the presence of his attorney,
17   defense investigators, and support staff.                    The parties agree that
18   Defense Counsel, defense investigators, and support staff shall not
19   allow   Defendant       to    copy     Protected    Information    contained    in    the
20   discovery.        The        parties    agree    that    Defense   Counsel,     defense
21   investigators, and support staff may provide Defendant with copies of
22   documents from which Protected Information has been redacted.
23        4.     The discovery and information therein may be used only in
24   connection with the litigation of this case and for no other purpose.
25   The discovery is now and will forever remain the property of the United
26   States of America (“Government”).                  Defense Counsel will return the
27   discovery to the Government or certify that it has been shredded at the
28   conclusion of the case.



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 1            5.      Defense Counsel will store the discovery in a secure place and
 2   will use reasonable care to ensure that it is not disclosed to third
 3   persons in violation of this agreement.
 4            6.      Defense Counsel shall be responsible for advising Defendant,
 5   employees, and other members of the defense team, and defense witnesses
 6   of the contents of this Stipulation and Order.
 7            7.      In the event that Defendant substitutes counsel, undersigned
 8   Defense Counsel agrees to withhold discovery from new counsel unless and
 9   until substituted counsel agrees also to be bound by this Order.
10            8.     Defense Counsel reserves the right to later seek to have the
11   terms of this Order modified or revoked.              Defense Counsel agrees to
12   return the discovery to the Government in its complete form if the terms
13   of this Order are modified or revoked if so requested by the United
14   States.
15
              IT IS SO STIPULATED.
16
     DATED: April 3, 2013                  BENJAMIN B. WAGNER
17                                              United States Attorney
18                                   By:           /s/ Grant B. Rabenn
                                                   GRANT B. RABENN
19                                                 Assistant U.S. Attorney
20   DATED: April 3, 2013            By:         /s/ Janet Bateman
                                                 JANET BATEMAN
21                                              Attorney for Defendant
22   IT IS SO ORDERED.
23   Dated:        April 3, 2013           /s/ Lawrence J. O'Neill   B9ed48
                                           UNITED STATES DISTRICT JUDGE
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